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B2400A (Form B2400A) (2/15)

 

Check one,
() Presumption of Undue Hardship

x No Presumption of Undue Hardship
See Debtor's Statement in Support of Reaffirmation, Part I
below, to determine which box to-check -

 

 

 

United States Bankruptcy Court

Western District of Kentucky
Inte _Treasa Ann Willis Case No.
Debtor Chapter

 

REAFFIRMATION DOCUMENTS
Name of Creditor: —_ First and: Farmers National Batik, Inc, -
[J Check this box if Creditor is a Credit Union
PART L. REAFFIRMATION AGREEMENT
Reaffirming a debt is.a serious financial decision. Before entering into this Reaffirmation Agreement, you must
review the important disclosures, instructions, and definitions found in Part V of this form,

A. Brief description of the original agreement being reaffirmed: aute loan
, For exaniple, auto loan

 

B. AMOUNT REAFFIRMED; — $_ 2,280.42
The Amount Reaffirmed is the entlre amount that you are agreeing to pay. This may’ include. unpaid priicipal,
interest, and fees and costs (if any) arising on of before , which ts the date of the Disclosure Statement
portion of this form (Part V).
See the definition of "Amount Reaffirmed" in Part V, Section C below,

C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 10.976,
See definition of "Annual Percentage Rate” in Part V, Seetion C below.
This isa (heck one) [| Fixed rate [Z) Variable rate

If the loan has a variable rate, the future interest rate may increase or decrease ftom the Annual Percentage Rate.disclosed
here,

D. Reaffirmation Agreement Repayment Terms (check and complete ont):

(4) $257.63, per month for__10__ montlis starting on 03/07/2049 .

[J Describe repayment terms, ineluding whetlier future payment amount(s) may be different from the initlal
payment.amount, '

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E, Describe the collateral, if any, securing the debt:
Description: 2000 Ghevy Silverado and-2004 Polaris Sportsitian

90 ATV
Current. Market. Value $ __ 8,405.00

F. Did the debt that is being reaffirming arise from the purchase of the collateral deseribed above?

(¥) Yes. What was the purchase price for the collateral? $ 8,072.00
(J No. What was the amount of the original loan? $

 

G. Specify the changes made by this Reaffirmation Apreement to the most recent credit terms on the reaffirmed debt
and any related agreement;

Terms as of the Terms After

Date of Bankruptey Reaffirmation.
Balance dué (including -
jees and costs) $ 2,280.12 _ $ 2,280.12
Annual Percetitage Rate 10.976 % 10.976 %
Monthly Payment $ 257.63 $. 287.63 —

H. [J Check this box if the creditor is agreeing to provide you with additional future credit in connection with
this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit:

 

PART I. DEBTOR'S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT
A. Were you represented by an. attorney during the course of negotiating this agreement?

Check one. [¥] Yes LJ No

B. Is the créditor.a credit union?

Check one. [-] Yes fz] No

C. If your answer to EITHER. question A. or B. above is"No" complete 1. and 2. below.
1. Your present monthly income and expenses are:

a. Monthly income from all sources after payro!! deductions _ Fo gL oD
(take-home pay plus any other income) $

dobte cece et 473b,0° |
b. Monthly expenses (including all reaffirmed debts except this one) _ 8

¢c. Amount available to pay this reaffirmed debt (subtract b. from 4.) $ a4. On
d. Amount of monthly payment required for this reaffirmed debt $ a Ss). 6

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Ifthe monthly payment on this reaffirmed debt (line a.) is greater than the amount you have available to pay this
reaffirmed debt (line c.), you must check the box at the top of page one that says "Presumption of Undue Hardship,"
Otherwise, you must check the box at the top of page one-that says "No Presumption of Undue Hardship."

2. You bélieve this reaffirmation agreement will not impose an undue hardship oni you or ott your dependents
because;

Check-one of the two statements below, if applicable:

lv] You cant afford to make the payments on the reaffirmed debt because your monthly income is. greater than

your monthly expenses oven after you iticlude in yout expenses the monthly payments on all debts you are
reaffirming, including this one.

[1] You can afford to make the payments on the reaffirmed debt even though your monthly Income is less thai
your monthly expenses aftér you include in your expenses the monthly payments on all debts you are.
reaffirming, including this one, because:

 

Use-an additional page if'needed for a full explanation.

D. If your answers to BOTH. questions A. and B. above were:"Yes," cheok the following statement, if applicable:

[4] You believe this Reaffirmation Agreement is in your financial interest and. you éati afford to make the
payments on the reaffirmed débt,

Also, check the box at the top of page one that says "No Presumption of Undue Hardship."

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Part UI, CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
I heteby certify that:
(1) I agret to reaffirm the debt described above,

(2) Before signing this Reaffirmation Agreement, I read the terms disclosed in this Reaffirmation Agreement
(Part I) and the Disclosure Statement, Instructions and Definitions ineluded in Part V below;

(3) The Debtor’s Statement In Support of Reaffirmation Agreement (Part II above) is true and complete;

(4) 1 am entering into this agreement voluntarily and am fully informed of my rights and responsibilities; and

(5} I have received a copy of this completed and signed Reaffirmation Documents form.
SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both debtors must sign): °

Date March 11, 2049 Signature /s/Treasa Ann Willls
: ‘Treasa Anh Willis

   

Debtor
Date : Signature

 

Joint Debtor, if any

Reaffirmation Agreement Terms Accepted by Creditor:

‘Creditor First and Farmers National Bank, Inc. 224 8, Public Square, Coluribia, KY 42728
Print Naie giiddress

Larry Walker Karny ot Maroh 11,2019
Print Name of Representative Signatur Date

PART IV. CERTIFICATION BY DEBTOR'S ATTORNEY (UF ANY)

 

To be filed only ifthe attorney represented the debtor during the course of negotiating this agreement,
I hereby certify that: (1) this agreement tepresenits a fully informed and voluntary agreement by the debtor! (2) this
agreettient doés not impose an undue hardship on the debtor or any dependent of the debtor; and (3) I have fully advised
. the debtor of the legal effect ard consequences of this agreement and any default under this agreement,

[.] A presumption of widue hardship has been established with respect to this agreement, In my opinion, however, the
debtor is able to make tlie required payment. -

Check box, if the presumption of undue hardship box is checked on-page I and the creditor is me Creghit inion, ~
Date March 11, 2019 Signature of Debtor's Attorney —_-/8/' Michael L, Harris of
* 7

Print Name of Debtor's Attorney Michael L. Harris

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PART V, DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S) ©
Before agreeing to reaffirm a debt, review the tersis disclosed in the Reaffirmation Agreement (Part I) and these
additional important disclosures and instructions,

Reaffirming a debt is 4 serious financial decision. The law requires you to take certain steps to make sure the decision
is in yout best interest, If these steps, which are detailed in the Instructions provided in Part V, Section B belaw, are not
completed, the Reaffirmation Agréement is not effective, ever though you have signed it,

A. DISCLOSURE STATEMENT

1, What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal obligation
to pay. Your reaffirmed debt is not discharged in your bankruptoy case. That means that if you default on
your reaffitmed debt after your bankruptcy case is over, your oreditor may be able to take your property or
your wages. Your obligations will be determined by the Reaffirmation Agreement, which may have changed
the terms of the original agreement. Iftyou are reaffirming an open end credit agreement, that agreement or
applicable law may permit the oreditor to change the terms of that agreement in. the future undér-cettain
conditions.

2, Are you required to enter into a reaffirmation agreement by aity law? No, you are riot requiréd to
-reaffirm.a debt by any law. Only agree to reaffirm a debt if itis in your best interest: Be sure you can afford
the payments that you agree to make,

3. What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate any
lien on your property..A “lien” is often referred to as a security interest, deed of trust, mortgage, or security
deed. The property subject to alten is often refetred to as collateral, Even if ‘you do not reaffirm and your
personal liability on the debt is discharged, your creditor may still have a right under the lien to take the
collateral if you do not pay or default on the debt, If the collateral is personal property that 1s exempt.or that
the trustee has abandoned, you may be able to redeem the item rather than reaffirm the debt, To redeem, you
make a single payment to the creditor equal to the current value of the collateral, as the parties agree or the
court deterinities.. -

4, How.soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into a
reaffirmation agreement, you must do so before you receive your discharge. After you have entered into.a
reaffirmation agreement and all parts of this form that require a signature have been signed, either you or the
creditor should file it as soon as possible. The signed agreement must be filed with the court no laterthan 60
days after the first date set for the meeting of creditors, so that the court will have time to schedule ‘a hearing
to approve the agreement if approval is required. However, the court may extend the tlme for filing, even after
the 60-day period has ended.

5, Can you cancel the agreement? You may rescind (cancel) your Reaffitmation Agreement at any time before
the bankruptcy court enters your discharge, or during the 60-day period that begins on the daté your
Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is reselnded (or
canceled). Remeimber that you can rescind the agreement, even if the court approves it, as long as you féscind
within the time allowed, ,

6. When will this Reaffirmation Agreement be effective?
a. If you were represented by an attorney during the negotiation of your Reaffirmation Agreement

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when it is filed
with the court unless the reaffirtration is presumed. to be-an undue hardship. If the Reaffirmation
Agreement is presumed to be an undue hardship, the court must review it and may set a hearing to

determine whether you have rebutted the presumption of undue hardship,
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Cc, .

ii, if the creditor is a Credit Union, your Reaffirmation Agreement beoorties effective when it is filed
with the court.

b, If you were nof represented by an attorney during the negotiation of your Reaffirmation Agieement,
the Reaffirmation Agreement will not be effective uiiléss the court approves it, To have the court approve
your agreement, you must file.a motion, Seé Instruction 5, below. The court will notify you and the creditor
of the hearing on your Reaffirmation Agreement. You must attend this hearing, at which time the judge will:
review your Reaffirmation Agreement, If the Judge decides that the Reaffirmation Agreement is in your best
interest, the agreement will be approved and will become effective, ‘However, if your Reaffirmatlon
Agreement is for a consumer debt secured by-a mortgage, deed of trust, security deed, or other lien on your
real property, like your home, you do not need to file a niotion or get court approval of your Reaffirmatlon
Agreement.

What if you have questions about what a creditor can do? If you have questions about reaffirming a debt
or what the law requires, consult with the attorney who helped you negotiate this agreertient, If you do not
have an attorney helping you,. you may ask the judge to explain the effect of this agreement to you at the
hearing to approve the Reaffirmation Agreement, When this disolosure refers to what a creditor “may” do, It
Is not givirig. any creditor permission to do anything. The word “may” is used to tell you what might occur if
the law permits the creditor to take the action,

INSTRUCTIONS

1,

Review these Disclosures and catefully consider your decision to reaffirm, If ‘you want to reaffinni, review
and complete the information contained in the Reaffirmation Agreement (Part I above). If your case is a joint
case, both spouses must sign the agreement if both are reaffirming the debt, 2

Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part I above), Be sure, ihat youl
can afford to thake the paymerits that you ate agreeing to make-and that you have received a copy of fhe
Disclosure Statement and a completed and signed Reaffitmation Agreement,

[f you were represented by an attorney during the negotiation of your Reaffirmatiotr Agreement, yout attorney
must sign. and date the Certification By Debtor’s Attorney (Part IV above).

You or your creditor must file with the court the original of this Reaffirmation Docurtents packet and a
completed Reaffirmationi Agreement Cover Sheet (Official Bankiuptey Form 427).

Ff you are not represented by an attorney, you must also complete and file with the court ti separate document
entitled “Motion for Court Approval of Reaffirmation Agreement" unless your Reaffirmation Agreement is for
a consumer debi secured by a lien on your real praperty, such as your home. You can use Form 24008 to do
this.

DEFINITIONS

L

"Amount Reaffirmed" means the total amount of debt that you are.agteeing to pay (reaffirm) by entering
into this agreement. The total amount of debt includes any unipaid. fees and costs that you-are agreeing to pay
that arose on dr before the date of disclosure, which is the date specified in the Reaffirmation Agreement (Part
| Section B above), Your credit agreement may obligate you to pay additional amounts that arise after the
date of this disclosure. You should consult your credit agreement to determine whether you are obligated to
pay additional amounts that may arisé after the date of this disclosure,

"Annual Percentage Rate" means the interest rate on a loan expressed. under the rules required by federal
law. The annual percentage rate (as opposed to the “stated Interest rate”) tells you the full cost of your oredit
including many of the creditor's fees and.charges. You will find the annual percentage rate for your original

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agreement on the disclosuré statement that was given to you when the foan papers were signéd or on the
monthly statements senit to you for an open end credit account such as a credit card.

3. "Credit Union" means a financial institution as defined in 12 U:8.C. § 461(b)(1)(A) Gy). It is owned and
controlled by and provides financial services to its members and typically uses. words like “Credit Uttion” or
initials like “C,U,” or “F.C.U,” in fis name.

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